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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION OPIATE         MDL No. 2804
LITIGATION

This document relates to:                  Case No. 17-md-2804

Track One Cases
                                           Hon. Dan Aaron Polster




      REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO EXCLUDE THE
       MARKETING CAUSATION OPINIONS OF MARK SCHUMACHER,
                 ANNA LEMBKE, AND KATHERINE KEYES
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I.     INTRODUCTION

       Plaintiffs’ Opposition (“Opp.”) makes clear that the sweeping marketing causation

opinions of Schumacher, Lembke, and Keyes rest upon nothing but the mere assumption of causal

effect. These experts employed no methodology (much less a reliable one) to reach their opinions

regarding the alleged causal impact of Defendants’ marketing. Nor could they have, as they all

lack the necessary marketing experience to give such an opinion. Indeed, Plaintiffs’ Opposition

concedes that these experts: (a) never conducted any statistical analyses to understand what role,

if any, Defendants’ marketing played in the rise of opioid prescribing or abuse in the Counties;

(b) never spoke to any physicians or patients to identify one prescriber who purportedly was

misled; (c) made no meaningful effort to account for the myriad factors that impact prescribing

and opioid abuse and mortality; and (d) failed to independently assess the impact of each

Defendant’s supposedly false marketing.      In fact, they apparently reached their speculative

causation conclusions before this litigation—that is, before having the opportunity to look at any

marketing materials by any Defendant in this case. Given their lack of qualifications and any

methodology, these experts should be precluded from giving any marketing causation opinion.

II.    LEGAL ARGUMENT

       A.      Plaintiffs Fail To Show How Schumacher, Lembke, And Keyes Are Qualified
               To Give A Causation Opinion About The Impact Of Defendants’ Marketing.

       Plaintiffs do not dispute that Schumacher, Lembke, and Keyes have no education, training,

or experience in marketing or the regulatory framework that governs pharmaceutical marketing.

(Opp. 2-5.) Likewise, Plaintiffs do not dispute that Schumacher and Lembke have no training or

experience in conducting statistical analyses—and that Keyes has not conducted one here. (Id.)

Instead, Plaintiffs summarize various books, reports, and articles published by Schumacher,

Lembke, and Keyes and argue they are qualified based on this prior experience alone. But the


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materials they reference merely summarize the results of other studies—none of which contain

any causation analyses regarding Defendants’ marketing.1

         For example, Plaintiffs argue that Schumacher’s limited role as one of 18 members on the

NASEM committee charged by the FDA with updating the science on pain research and

recommending options to address opioid abuse qualifies him to opine on marketing causation. (Id.

at 2.) However, as Plaintiffs point out, that committee was convened “not to assign blame for the

current situation” (i.e., not to determine causation) and merely offered “hypotheses.” (Id.) That

committee did not undertake an analysis on whether any Defendant’s alleged wrongdoing had any

role in the rise of opioid morbidity and mortality. (See Ex. 1 to Opp., Dkt. No. 2166-1, at 20-21

(“NASEM Report”) (describing “Statement of Task”).)                  Nor did the committee examine

“Defendants’ marketing”—as Plaintiffs misleadingly suggest. There was no causation modeling

or analysis. And most of the Manufacturer Defendants are not even mentioned in the report.2 Even

more fundamentally, Schumacher acknowledged his limited role on NASEM and testified that he

did not conduct or review any analysis, but merely looked at the results found in the report.3 That

does not render him an expert on marketing causation.

         Similarly, Plaintiffs do not dispute that Lembke’s training and experience is limited to the

field of addiction medicine—that is, she has no marketing experience. (Opp. 3.) Instead, they


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         Plaintiffs rely on In re Diet Drugs (Phentermine Fenfluramine Dexfenfluramine) Prods. Liab.
Litig., No. MDL 1203, 2000 WL 876900 (E.D. Pa. June 20, 2000) and In re Gadolinium-Based Contrast
Agents Prods. Liab. Litig., No. 1:08-GD-50000, 2010 WL 1796334 (N.D. Ohio May 4, 2010), but, in those
cases, medical experts offered opinions as to a medication or device’s FDA-approved labeling. Here,
Plaintiffs’ experts (two of whom are doctors) purport to offer opinions as to the causal impact of
marketing—as to which they have no relevant expertise. See, e.g., Pfizer Inc. v. Teva Pharmaceuticals
USA, Inc., 461 F. Supp. 2d 271, 276 (D.N.J. 2006) (doctor not qualified to opine on specific effects of
marketing efforts because he lacked “specialized expertise regarding sales or market analysis” and
“conducted no scientific studies or surveys concerning purchasing practices of other doctors in his field”).
2
         The report only references marketing by one company (Purdue), and there is no analysis done to
identify any false marketing or link it to any harm. (NASEM Report, at 25-26, 215, 372).
3
         See Schumacher April 23, 2019 Dep. Tr., Ex. 9 to Mot., Dkt. No. 1984-11, at 45:21-46:2.

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argue that Lembke’s book about opioid addiction qualifies her to give a marketing causation

opinion. (Id. at 3-4.) Yet Plaintiffs do not argue—much less show—that this book included any

type of reliable causal analysis. (Id. (arguing only that book addressed “financial support” by

unidentified “Defendants” for third-party organizations).) It did not. Notably, even the excerpt

provided by Lembke mentions only one manufacturer, and does not cite or review any marketing

materials by any Defendant. (Opp. Ex. 2, Dkt. No. 2166-2.) Instead, like her expert report, the

book merely summarizes other studies that do not examine Defendants’ specific opioid medicines

or marketing materials. While Lembke (as an addiction specialist) may be qualified to opine on

opioid addiction, her book does not qualify her to opine that Defendants’ marketing caused the

opioid abuse “epidemic” in the Counties or anywhere else. See Pfizer Inc., 461 F. Supp. 2d at 276.

       Finally, Plaintiffs do not dispute that Keyes has no training or experience with marketing

(much less pharmaceutical marketing). (Opp. 4.) Plaintiffs further concede that her published

work has nothing to do with marketing; it addresses “substance use disorders” and “opioid-related

harm”—not whether marketing was responsible for that harm. (Id.) Indeed, the only article

Plaintiffs cite to support Keyes’ qualifications is a coauthored one about overdose fatalities. (Id.;

see Opp. Ex. 3, Dkt. No. 2166-3, at 10.) That article offered no marketing analysis, analyzed no

marketing, and offered no causation finding. (Id.) Notably, Keyes never reviewed any marketing

materials in this case. (Keyes April 29, 2019 Dep. Tr., Ex. 7 to Mot., Dkt. No. 1979-10, at 457:8–

10.) Her causation opinions should be excluded for lack of qualifications, too. See, e.g.,

Rheinfrank v. Abbott Labs., Inc., No. 1:13-CV-144, 2015 WL 13022172, at *11 (S.D. Ohio Oct.

2, 2015), aff’d, 680 F. App’x 369 (6th Cir. 2017) (applying principle to exclude testimony).

       B.      Plaintiffs’ Sweeping Causation Opinions Are Unreliable For Many Reasons.

       In addition to lacking the requisite qualifications, Plaintiffs’ experts simply presume a

causal effect—without any real analysis. Indeed, Plaintiffs concede that their experts’ causal
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“analysis” rests upon an assumed “correlation” that has to be “more than mere coincidence.” (Opp.

11.) But something “more than mere coincidence” does not create a reliable causation opinion.

               1.      Plaintiffs Concede That Neither Schumacher, Lembke, Nor Keyes
                       Conducted Any Independent Or Replicable Causation Analyses.

       Plaintiffs concede these experts conducted no analyses in forming their marketing

causation opinions. (Id.) Instead, they purportedly “reviewed the evidence and the literature

applicable to the Defendants’ promotion of opioid drugs” and then merely “concluded that the

promotion was false and misleading, and that such false and misleading promotion was a cause

of the opioid epidemic . . . .” (Id. at 6-7 (emphasis added).) But this simply presumes causation—

and elides the multiple causal layers along the way. No analysis was done to determine why Ohio

prescribers who received marketing from Defendants wrote opioid prescriptions, whether those

prescriptions harmed patients, or even whether they led to Plaintiffs’ opioid-related costs. To be

admissible, a reliable, replicable analysis must be conducted—an expert may not simply presume

a causal effect. See Nelson v. Tennessee Gas Pipeline Co., 243 F.3d 244, 252 (6th Cir. 2001)

(barring testimony based upon causation assumption). Yet that is precisely what happened here.

       Moreover, Plaintiffs do not dispute that the “relevant scientific literature” their experts

reviewed consists of general studies of pharmaceutical marketing that do not examine these

manufacturers’ marketing of these opioid medications or any effect of any alleged false marketing

in Ohio. (Opp. 6-10.) Plaintiffs dedicate much of their Opposition to summarizing these articles

(most of which are not even cited in their experts’ reports)—which only highlights the lack of a

reliable methodology. See In re Aredia & Zometa Prod. Liab. Litig., 483 F. App’x 182, 190 (6th

Cir. 2012) (excluding expert’s “specific-causation opinion as unreliable because it was not derived

from scientifically valid principles but rather relied exclusively on the scientific literature”).




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         Worse yet, Plaintiffs’ argument that the experts’ opinions must be reliable because they

formed them prior to being retained actually shows the opposite.4 (Opp. 7.) If Schumacher,

Lembke, and Keyes formed their opinions prior to being retained, then they did so without ever

examining the Defendants’ marketing materials or other information from discovery to determine

whether they were false or misleading and, if so, whether they caused any opioid-related harm in

the Counties. Their causation opinions have no reliable foundation and should be excluded.

                2.      Plaintiffs Concede Their Experts Failed To Determine That Any
                        Alleged False Marketing Reached Or Influenced Prescribers In Ohio.

         Plaintiffs concede that none of their experts spoke to any Ohio physicians to determine

whether they received Defendants’ marketing and, if so, to what extent (if any) supposedly false

marketing influenced their prescribing. (Opp. 12-13.) Plaintiffs also do not dispute that none of

their experts interviewed patients in Ohio to determine how they came to misuse opioids and

whether they suffered any harm. (Id.) Remarkably, Plaintiffs seem to argue that the causation

conclusions of Lembke, Schumacher, and Keyes are reliable merely because pharmaceutical

companies market their medicines to physicians in order to increase sales. (Id. at 12.) This, once

again, merely presumes causation. It says nothing about the impact of any false marketing on any

Ohio prescribing decision or patient outcome—the very basis for Plaintiffs’ claims. Because

Plaintiffs’ experts conducted no causal analysis, their causation opinions are unreliable.

                3.      Plaintiffs Make Clear That Schumacher, Lembke, And Keyes Did Not
                        Consider Other Factors On Opioid Prescribing And Abuse.

         Plaintiffs concede elsewhere that “various actors -- including pill mills, overprescribing

doctors, etc. -- were responsible for at least a portion of the opioid crisis.”5 Yet Plaintiffs do not


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         Plaintiffs cite Johnson v. Manitowoc Boom Trucks, Inc., 484 F.3d 426 (6th Cir. 2007), but the Sixth
Circuit affirmed the exclusion of expert testimony there. Id. at 435. Similarly, here, the experts conducted
no causation analysis of Defendants’ marketing—either before or after retention.
5
         See Pls.’ Mem. in Opp. to Defs.’ SOL Mot. for Partial Summ. J., Dkt. No. 2179, at 6 n.23.

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dispute that Schumacher, Keyes, and Lembke did not conduct a meaningful analysis of these or

the many other independent factors leading to opioid-related harm in forming their causation

opinions. (Opp. 14.) At most, Plaintiffs’ Opposition merely points to a single cursory and

generalized statement or two in their expert reports (or depositions) about “others” having “some

responsibility for the events that have transpired.” (Id. (quoting Lembke’s report).) But Plaintiffs

fail to show how their experts accounted in any reliable way for the role other factors played in the

increase in opioid prescribing and abuse in Ohio, including what data they reviewed or how they

assessed it. Merely assuming causation without ruling out alternative causes is not sufficient for

an expert opinion. See Pluck v. BP Oil Pipeline Co., 640 F.3d 671, 680 (6th Cir. 2011) (excluding

expert opinion for failing to “‘rule out’ alternative causes”).

       Plaintiffs also concede that Schumacher, Lembke, and Keyes did “not consider each

defendant separately in order to offer opinions,” much less measure the impact of each Defendant’s

alleged false marketing. (Opp. 15.) Instead, they argue that the marketing causation opinions need

“not be sufficient” on their own to establish causation to be admissible, yet fail to address how

lumping all of the Defendants together would assist the trier of fact to determine whether each

Defendant’s marketing (much less false marketing) caused a rise in opioid misuse. (Id. at 15-16.)

This is particularly so given that Plaintiffs recognize that they must “prove their claims against

each individual defendant based on each defendant’s alleged wrongdoing.” (Pls.’ Mot. To Sever,

Dkt. No. 2099, at 2 (emphasis added).) The aggregate causation opinions of Schumacher, Lembke,

and Keyes will not assist the trier of fact in resolving claims against “each individual defendant.”

       C.      Allowing The Unreliable And Improper Causation Opinions Of Schumacher,
               Lembke, and Keyes Would Confuse The Jury And Prejudice Defendants.

       Schumacher, Lembke, and Keyes are not economists trained to perform a data-driven

analysis to establish causation. They have no experience with pharmaceutical marketing. They


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have never conducted any independent analyses as to the impact of Defendants’ marketing, much

less in Ohio. They also did not evaluate or account for any other factors that could have led to a

rise in opioid morbidity and mortality. As a result, it would be prejudicial to allow such speculative

and untested causation opinions. Plaintiffs also have other experts through which they seek to

provide causation testimony. (Opp. 16.) Because the duplicative and unreliable causation

testimony of Schumacher, Lembke, and Keyes will only mislead the jury, it should not be admitted.




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6
         Teva Pharmaceutical Industries Ltd., Allergan plc, and Mallinckrodt plc are respectively an Israeli
corporation, Irish holding company, and Irish company that are not subject to and contest personal jurisdiction for the
reasons explained in their motions to dismiss for lack of personal jurisdiction; they are specially appearing to join this
motion as a result of the Court’s deadline to file dispositive and Daubert motions, and, thus, they do not waive and
expressly preserve their pending personal jurisdiction challenges.

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on August 16, 2019, Defendants’ Reply In Support

of Their Motion To Exclude The Marketing Causation Opinions Of Mark Schumacher, Anna

Lembke, And Katherine Keyes was served via email on all attorneys of record consistent with the

June 24, 2019 Order setting forth Directions Regarding Filing of Briefs Under Seal.



                                                    /s/ Steven A. Reed
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